                  Case
  AO 247 (02/08) Order     6:06-cr-00026-JRH-CLR
                       Regarding Motion for Sentence Reduction   Document 832 Filed 07/09/08 Page 1 of 1

                                     UNITED STATES DISTRICT COURT
                                                                    forthe                           H



                                                        Southern District of Georgia
                                                           Statesboro Division                   2Er3 JL
                   United States of America                          )

                                                                     ) Case No: CR606-00026034
                          Angela Rogers
                                                                     ) USMNo: 12983-021
Date of Previous Judgment:         January 8, 2008                   ) Sarah F. Wall
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant Ethe Director of the Bureau of Prisons      the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    thelast judgment issued) of _________________ months is reduced to __________________________

1. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                      23                          Amended Offense Level:      23
Criminal History Category:                   1V                          Criminal History Category:  IV
Previous Guideline Range: 70                   to 87 months              Amended Guideline Range: 70 to 87         months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III. ADDITIONAL COMMENTS
The retroactive amendment is not applicable to this defendant as her offense level computations were not based on
crack cocaine. The Court also denies the defendant's motion to reduce her sentence based on changes to criminal
history computations found in Chapter Four of the Guidelines Manual. The Court denies this motion because the
criminal history changes were not made retroactive by the Sentencing Commission.

Except as provided above, all provisions of the judgment dated
IT IS SO ORDERED.

Order Date:          '1- g-OQ'

                                                                         B. Avant Edenfield
                                                                         United States District Judge
Effective Date: ________________________                                 For the Southern District of Georgia
                    (if different from order date)                                        Printed name and title
